                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF IOWA
                                     EASTERN DIVISION


UNITED STATES OF AMERICA,                      )
                                               )    CR 06-0053 LRR
              Plaintiff,                       )
                                               )    NOTICE OF INTENT
vs.                                            )    TO PLEAD GUILTY
                                               )
JAHMAL GREEN,                                  )
                                               )
              Defendant.                       )



       Jahmal green, through counsel, hereby notifies the Court and the government of his intent

to plead guilty. The Court may remove this case from the July 10, 2006, trial schedule. See

U.S.S.G. §3E1.1(b)(2).



                                            FEDERAL DEFENDER'S OFFICE
                                            320 Third Street SE, Suite 200
                                            Cedar Rapids, IA 52401-1542
                                            TELEPHONE: (319) 363-9540
                                            TELEFAX: (319) 363-9542


                                            BY: /s/: Casey D. Jones
                                            CASEY D. JONES
                                            casey_jones@fd.org
                                            ATTORNEY FOR DEFENDANT,
                                            JAHMAL GREEN




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cc:
U.S. Attorney’s Office
P.O. Box 74950
Cedar Rapids, IA 52407-4950



                      Certificate of Service
I served a copy of this document on the attorneys of record of
all parties as follows:
1. Method of service:        ( ) personal service
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                             ( ) certified mail, return receipt
                             ( ) fax

2. Date served:             June16, 2006
I declare that the statements above are true to the best of my
information, knowledge, and belief.

/s/: Casey D. Jones




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